












Petition
for Writ of Mandamus Dismissed and Memorandum Opinion filed June 2, 2011.

In
The

Fourteenth
Court of Appeals



NO. 14-11-00457-CR



&nbsp;

In Re Henry Gradney, III,
Relator



&nbsp;



ORIGINAL PROCEEDING



WRIT OF MANDAMUS

248th District
Court

Harris County,
Texas

Trial Court
Cause No. 125170601010



&nbsp;

MEMORANDUM&nbsp;&nbsp;
OPINION

On May 24, 2011, relator Henry Gradney, III filed a
petition for writ of mandamus in this court. &nbsp;See Tex. Gov’t Code Ann.
§22.221 (Vernon 2004); see also Tex. R. App. P. 52. &nbsp;In the petition,
relator asks this court to compel the Honorable Joan Campbell, presiding judge
of the 248th District Court of Harris County, to grant a motion to withdraw his
plea of nolo contendere.

Appellant was convicted in the 248th District Court
of felony driving while intoxicated.&nbsp; In his petition for writ of mandamus he
contends his plea of nolo contendere was involuntary and that he received
ineffective assistance of counsel.

While the courts of appeals have mandamus
jurisdiction in criminal matters, only the Texas Court of Criminal Appeals has
jurisdiction over matters related to final post-conviction felony proceedings.&nbsp;
Ater v. Eighth Court of Appeals, 802 S.W.2d 241, 243 (Tex. 1991).&nbsp; This
court has no authority to issue a writ of mandamus to compel a district court
judge to rule on matters seeking post-conviction relief from final felony
convictions.&nbsp; See In re McAfee, 53 S.W.3d 715, 718 (Tex .App.—Houston
[1st Dist.] 2001, orig. proceeding).&nbsp; 

Because relator is seeking post-conviction relief, we
conclude that we do not have jurisdiction over this proceeding.&nbsp; Accordingly,
we dismiss relator’s petition for writ of mandamus.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

&nbsp;

&nbsp;

Panel consists of Justices Frost, Jamison,
and McCally.

Do
Not Publish — Tex. R. App. P. 47.2(b).





